
127 S.Ct. 827 (2006)
549 U.S. 1093
Hovel RIASCOS-CUENU, petitioner,
v.
UNITED STATES.
No. 05-8662.
Supreme Court of United States.
December 11, 2006.
On petition for writ of certiorari to the United States Court of Appeals for the Fifth Circuit. Motion of petitioner for leave to proceed in forma pauperis and petition for writ of certiorari granted. Judgment vacated, and case remanded to the United States Court of Appeals for the Fifth Circuit for further consideration in *828 light of Lopez v. Gonzales, 549 U.S. 47, 127 S.Ct. 625, 166 L.Ed.2d 462 (2006).
